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July 15th, 2022

Honorable Michael Simon
Oregon District Court

In re: NWF v. NMFS, Case No. 3:01-cv-00640-SI

Your Honor,

   Him-ya-koom-seeloo, Nez Perce Indian only, enjoined by the law of nations.

   Per my previous communication, I was granted another point of privilege at the July

12th NPTEC meeting. At this meeting, I was advised that my request was put under the

consideration of the Nez Perce Tribe Office of Legal Counsel(OLC). These attorneys are

known quantities. I do not have much faith that they will give good advice to their client.

   Over the previous years while employed by the NPT, I have had several discussions

with the respective OLC attorneys for the tribe. Per my suggestion, I offered to the

NPTEC members for them to listen to a discussion between OLC and myself on the two

corrections of material fact. Interestingly, NPTEC committed to setting up this discussion

with OLC in NPTEC Chambers for them to hear privately. Although, I do not have an

exact date as to when this discussion with OLC will transpire, I do believe that it will be

before the July 31st deadline set by your court.

   I was also asked by the Chairman at the July 12th meeting if I had entered the case on

June 29th. Kutsee-yow-yow.



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Respectfully, dated this 61,030th day since June 11th, 1855,




                                                Nez Perce Indian,
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